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, UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WISCONSIN

 

VICTOR ROBINSON
Plaintiff,
Ve Case Ne. 20-cv=203-—bbc

‘ 3

SANDRA MCARDLE et al.,
Defendant's

 

NOTICE OF APPEAL AND PERTION FOR CERTIFICATE OF APPEALABILITY

 

Cemes Now Victor Robinson, the above - named plaintiff -
appellant, appearing in this matter Pro Se, without counsel,
pursuant to Fed. R. App. P. Rule 3 (a), and as and for a notice
of appeal to the UNITED STATES DISTRICT COURT for the Western
District of Wisconsin from the order Entered en the 2 day of
november, 2020, that GRANTED defendant's motion for dismiss under
Fed. R. Civ. P. 12(b)(6), dkt. #21, and dkt. #34, under Rule 12
(c). (McArdle answered plaintiff's complaint, but Waterman has
net.) The Order also denied plaintiff‘s for counsel, assistance
-in recruiting counsel to represent, him Entered on 2 day of
November, 2020, dkt. #31. In addition, plaintiff responded to
the defendant's motions to stay discovery and case deadlines
pending a decision on their motions regarding preclusion, dkt.
##42-43. Notice of Electronic Filing: The following transaction
was entered on 11/2/2020 at 8:45 AM cst and filed on 11/2/2020
Decument Number: 44 Docket Text: Brief ‘in Oppesitien by plaintiff
re: [43] Metion to stay filed by Sandra Mcardle, [42] metion to
stay filed by Jolinda Waterman (attachment: #(1) Certificate of
Service) (aom, (Ps). Plaintiff motion [43] was never reselved be-
fere the court final epinion and Order Entered en 2 day of November
2020 Decument #:45.

(1)

 
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On “guly: 18, 2018 plaintiff Victor Robinson (plaintiff)
filed and prosecuted a Section 1983 against state prison officials
for violating his constitutionan rights by previding him with the
wrong medication that resulted in pater injuries (ECF Ro. 1) and.
on January 21, 2019 plaintiff filed an Amended’ Complaint
after identifying: Doe Defendant's (ECF We. 11) and May« 14, 2019,
the court screened plaintiff Amended Complaint (ECF. No. 28).

In its May 14, 2019 screening the district court denied
plaintiff's request to include Dr. Mcardle asa defendant case
18-cv-1117, and his Summary Judgment pleadings (ECF Ne. 23),
until the two added defendant's, Growchowski; and Stowell, has
had an opportunity to answer the claims against them (ECF Ko. 44

On May 21, 2019, defendant's filed a motion for Summary
Judgement seeking dismissal of the entier case and at one point,
defendant's made referrance to Anderson, the defendant added by
the district, court (ECF No. 31).

On January 17, 2020, the district court granted defendant's
motion for summary judgment (ECF No. 47) finding that the plaintiff
motion, that the plaintiff, failure to respond to defendant's motion
for summary judgment was sufficient grounds te grant the defendants
pleadings standing alone & Second, without a response from plaintiff,
the court deemed defendant’ S propose facts undisputed. The court
concluded that those facts and legal arguments in defendant's brief
entitle@ defendant's to summary judgment.

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on February 10, 2020, plaintiff filed Fed. R. Civ. P. 59(e)
motion where plaintiff included his response to defendant's

pleadings for summary judgment (ECF No. 49).

(2)

 
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‘On February 12, 2020, the district court denied plaintiff's
Fed. R. Civ. P. 59(e),pleadings and failed to address the belated
summary judgment response.

. t y

Plaintiff filed a notice of appeal requesting a certificate
of appealability, excuted on this ist day of March, 2020. Case
No. 18-cv-1117.

“ 1.) on April 27, 2020, the district court Section a Law Suit >
Complete filed by the plaintiff and due to its ambiguity,
instructed plaintiff to file an Amended Complaint to clear up that
ambiguity.

2.) The. district court gave plaintiff until May 18, 2020, to
Complete the filing; however plaintiff was assigned at Waupun
Correctional Institution (WCT) where the prison is on a complete
lockdown due to covid-19 which disallow plaintiff access to the
prison's law library and legal materials, and the same conditions
are here at this Green Bay Correctional Institution (GBCI).

Submitted by Plaintiff:

were Rob rson/

Plaintiff, Pro Se

Victor Robinson #213846
Green Bay Correctional Inst.
Post Office Box 19033

Green Bay Wisconsin 54307

 
